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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )                CASE NO. 8:02CR353
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                     ORDER
                                              )
ROY C. STRAUGHAN,                             )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion to compel his attorney to

relinquish all case files to the Defendant (Filing No. 612).

       On September 11, 2006, the Eighth Circuit Court of Appeals affirmed the judgment

of this Court (Filing No. 565). The Defendant seeks his attorney’s files in this case to

prepare a motion under 28 U.S.C. § 2255.

       IT IS ORDERED that the Defendant’s motion to compel his attorney to relinquish

all case files to the Defendant (Filing No. 612) is denied.

       DATED this 29th day of October, 2007.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
